21-01180-jlg      Doc 12      Filed 09/23/21 Entered 09/23/21 16:26:01               Main Document
                                           Pg 1 of 10

                        EMMET, MARVIN & MARTIN, LLP
                                    COUNSELLORS AT LAW
                                                                                                       John Dellaportas
                                     120 Broadway 32nd Floor                                                    Partner
                                   New York, New York 10271                                           Tel: 212-238-3092
                                          212-238-3000                        Fax: 212-238-3100 Fax (alt.) 212-406-6953
                                                                                         jdellaportas@emmetmarvin.com
                                     www.emmetmarvin.com

September 23, 2021

Via ECF
Honorable James J. Garrity, Jr.
U.S. Bankr. Ct. for the Southern Dist. of N.Y.
One Bowling Green
New York, NY 10004
               Re:     Piazza v. Oldner, et al., Adv. Pro. No. 21-01180 (JLG)
Dear Judge Garrity:

        This firm represents Sagi Genger in connection with the above-referenced adversary
proceeding. We write to respond to: (a) the September 20, 2023 letter from Mr. Bowen, counsel
to the debtor, in which Mr. Bowen falsely represents to the Court that the state court claims the
debtor asserted against Sagi/TPR in Index No. 109749/2009 were brought in her “individual
capacity” (Doc. 9); and (b) the September 22, 2021 letter from Mr. Cavaliere, counsel to the
Chapter 7 Trustee (Doc. 11), to the extent he “join[s] in Mr. Bowen’s letter.

         It is one thing for Mr. Cavaliere to not be acquainted with the facts of the prior Genger
litigations, in which he played no direct role. It is quite another for Mr. Bowen, who directly
litigated those matters, to make such extraordinary misrepresentations. What we are witnessing
here is an attempt to retroactively recharacterize claims, long dismissed by the state court, in
order to continue a process of abusing the bankruptcy system.

         Mr. Bowen tries to confuse this Court by citing to an interim state court decision in the
aforementioned case, Genger v. Genger, 2016 WL 1407903 (Sup. Ct., NY Cnty. April 8, 2016),
aff’d, 147 A.D.3d 443 (1st Dep’t 2017), in which the court granted partial summary judgment of
liability on the First, Seventh and Eighth Causes of Action in the Second Amended Complaint.
None of the three claims even purported to be brought on behalf of Orly personally. Rather, as
the Court can see from the pleading (Exh. A), the First Cause of Action was brought “on behalf
of the Orly Trust and D&K,” the Seventh Cause of Action was brought “on behalf of the Orly
Trust,” and the Eighth Cause of Action was brought “on behalf of D&K.”

        As we noted in our prior letter (Doc. 8), at the damages trial stemming from that finding
of liability, the presiding judge directedly inquired: “As I understand it the plaintiff in this case is
seeking money on behalf of the trust and derivatively … on behalf of the corporation.” To which
Mr. Bowen responded: “That’s correct, Judge.” Mr. Bowen now claims this cite is “misleading,”
yet he never explains how it is misleading. That is because there is nothing misleading about it.
Our letter included the judge’s precise question and Mr. Bowen’s entire answer. The letter also
appended the preceding pages from the transcript, so that this Court could read the entire context.
Mr. Bowen merely confirmed to the judge what was in his client’s pleading.

                              NEW YORK, NEW YORK • MORRISTOWN, NEW JERSEY
21-01180-jlg     Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01            Main Document
                                         Pg 2 of 10

EMMET, MARVIN & MARTIN,   LLP                                                             2


        Moreover, nowhere in the language Mr. Bowen quotes from the state court decision does
the state court recharacterize the derivative claims as direct. That is because the nature of those
claims was not in dispute. The Appellate Division had previously held the claims to be
“derivative” (Genger v. Genger, 120 A.D.3d 1102, 1104 (1st Dep’t 2014)). Rather, in the quoted
language, the state court merely decided that monetary damages were more appropriate than
equitable relief (replevin). Such damages, had they been awarded, would have gone to the real
plaintiffs on whose behalf the debtor was bringing suit, namely, D&K and/or the Orly Trust.
Following a trial, however, the state court ruled that there were no damages because no party had
suffered any harm, and therefore entered a final judgment in favor of Sagi and TPR on all counts/
Contrary to Mr. Bowen’s statement, the appeal from that judgment was never stayed, and the
time to prosecute an appeal from that ruling has long since expired. The Appellate Division held
as much in directing the Trustee’s appeal from the same judgment in Dalia’s favor to go forward
over the “automatic stay”-based objections of the Trustee. See Exh. B.

        In sum, the adversary proceeding is brought in disregard of a controlling First
Department ruling, the debtor’s verified pleading, and her counsel’s statement in open court. At
this point, the chronic misrepresentations to this Court by both Messrs. Bowen and Cavaliere
warrant sanction. It is particularly disheartening that counsel to the Trustee is consistently
derelict in investigating accusations before making them. Should the letters not be corrected, an
appropriate motion will be made to remediate this ongoing issue.

                                                     Respectfully,


                                                     John Dellaportas
cc:    All Counsel of Record (via ECF)
21-01180-jlg   Doc 12   Filed 09/23/21 Entered 09/23/21 16:26:01   Main Document
                                     Pg 3 of 10




                                   EXHIBIT A
FILED: NEW YORK COUNTY CLERK 08/11/2010                                                        INDEX NO. 109749/2009
NYSCEF DOC.21-01180-jlg
            NO. 83         Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01RECEIVED
                                                                                Main Document
                                                                                       NYSCEF: 08/11/2010
                                                   Pg 4 of 10




              SUPREME COURT: NEW YORK COUNTY

              ORLY GENGER in her individual capacity and on            Index No.: 109749/09
              behalf of the Orly Genger 1993 Trust (both in its
              individual capacity and on behalf of D & K
              Limited Partnership),

                                                    Plaintiff,
                                                                       SECOND AMENDED
                                  - against -                          VERIFIED COMPLAINT
             DALIA GENGER, SAGI GENGER, LEAH
             FANG, D & K GP LLC, and TPR INVESTMENT
             ASSOCIATES, INC.,

                                                   Defendants.



                            Plaintiff Orly Genger in her individual capacity and on behalf of the Orly

             Genger 1993 Trust (both in its individual capacity and on behalf of D & K Limited

             Partnership), by her attorneys, Zeichner Ellman & Krause LLP, alleges, upon information

             and belief, for her Second Amended Verified Complaint against the defendants in this

             action as follows:


                                          NATURE OF THE ACTION


                            1.      As described below, Dalia and Sagi Genger, together with various

             business entities controlled by them and Leah Fang, engaged in a fraud and conspiracy

             designed to completely loot the Orly Genger 1993 Trust (the "Orly Trust") of its value.

             The defendants' various acts of self-dealing, material misrepresentations, and material

             omissions, in breach of their respective fiduciary duties and in violation of New York law,

             injured Orly Genger, the Orly Trust, and D & K Limited Partnership.
21-01180-jlg       Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01         Main Document
                                           Pg 5 of 10




  that it was converting the above-mentioned motions to dismiss into motions for summary

  judgment pursuant to CPLR 3211(c).


                     97.    On November 24, 2009, Orly filed her omnibus opposition to the

  converted motions for summary judgment. Sagi, Dalia, D&K GP and TPR each

  submitted papers in further support of their converted motions for summary judgment on

  or about December 28, 2009.


                     98.    By his Amended Decision and Order dated July 28, 2010 (the

  "Decision and Order")7, the Honorable Paul G. Feinman ruled that Orly had stated valid

  causes of action against Sagi, Dalia, D&K GP and TPR as set forth below. Judge

  Feinman's Decision and Order further directed Orly to serve this Second Amended

  Complaint upon Sagi, Dalia, D&K GP, TPR and Fang pursuant to the aforementioned

  Decision and Order and New York Civil Practice Law and Rules. A copy of the Decision

  and Order is attached as Exhibit 28.


                                 FIRST CAUSE OF ACTION
                   (Claim for Breach of Fiduciary Duty On Behalf of the Orly
                          Trust and D&K Against Sagi and D&K GP)


                    99.     Plaintiff repeats and realleges the allegations in paragraphs 1

  through 98.




  7
      The Amended Decision and Order amended and superseded Judge Feinman's earlier
      June 28, 2010 Decision and Order addressing Defendants' converted motions.




  #587844v1/BDI/10669.002                       34
21-01180-jlg      Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01            Main Document
                                          Pg 6 of 10




                              SEVENTH CAUSE OF ACTION
                          (Claim for Declaratory Relief and Damages
                          Pursuant to NY UCC §§ 9-627, 610, 611-614
                           On Behalf of the Orly Trust Against TPR)


                   158.    Plaintiff repeats and realleges the allegations in paragraphs 1

  through 157.


                   159.    TPR orchestrated a sham sale that purported to dispose of D&K's

  Pledged Shares. However, the sale of these Pledged Shares was not "commercially

  reasonable" within the meaning of NY UCC Article 9.


                   160.    Upon information and belief, TPR failed to send timely

  authenticated notification of disposition of the Pledged Shares to the Orly Trust, or its

  beneficiary Orly, in violation of NY UCC §§9-611(c)(2) and 9-612(b). Although aware of

  her financial interest in D&K and the Pledged Shares, TPR made no attempt to contact

  Orly to inform her of the UCC sale.


                   161.    As a secondary obligor under the Note, the Orly Trust had a right to

  be given notice of the sale of the Pledged Shares. TPR's failure to send proper

  authenticated notification to either the Orly Trust or Orly is commercially unreasonable.


                   162.    Further, the purported sale price for D&K's Pledged Shares

 ($2,200,000) was only a fraction of the original purchase price for the shares

 ($10,200,000). Moreover, the sale price did not take into account the $27 million

 potentially received by TPR from the purported sale of TRI stock to the Trump Group, or




 #587844v1/BDU10669.002                         51
21-01180-jlg      Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01           Main Document
                                          Pg 7 of 10




  the substantial dollar value of TRI. Similarly, the sale price did not take into account

  TPR's limited partnership interest in Riverside Properties (Canada) LP, an entity which

  owns extremely valuable residential real estate complexes in Canada.


                    163.   Due to TPR's and Sagi's failure to proceed in accordance with

  UCC Article 9, Part 6, the Orly Trust is entitled, under NY UCC §9-625(b), to the

  recovery of the loss caused by such noncompliance.


                            EIGHTH CAUSE OF ACTION
           (Claim for Conversion and Replevin On Behalf of D&K Against TPR)


                    164.   Plaintiff repeats and realleges the allegations in paragraphs 1

  through 163.


                    165.   Around December 1993, D&K purchased the Pledged Shares.


                    166.   Pursuant to this purchase, D&K had a possessory right and interest

  in the Pledged Shares at the time when TPR (controlled by Sagi) conducted the "auction"

  of those shares and took possession of those shares through an unlawful act of conversion.


                   167.    Although TPR currently has possession of the Pledged Shares,

  TPR has no lawful right to possess or control those shares.


                   168.    On July 2, 2009, Orly, acting on behalf of the Orly Trust, in turn

  acting on behalf of D&K, made a demand to TPR for recovery of the Pledged Shares. A

  copy of the July 2, 2009 demand letter is attached hereto as Exhibit 27.




 #587844v1/BD1110669.002                        52
21-01180-jlg       Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01   Main Document
                                           Pg 8 of 10




                                         EXHIBIT B




                                            Page 2

Error! Unknown document property name.
21-01180-jlg    Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01          Main Document
                                        Pg 9 of 10



  Present - Hon. Barbara R. Kapnick,         Justice Presiding,
  Cynthia S. Kern
  Anil C. Singh
  Peter H. Moulton
  Lizbeth González,                  Justices.

  ---------------------------------------X
  Orly Genger in her Individual Capacity
  and on behalf of the Orly Genger 1993
  Trust (both in its individual capacity
  and on behalf of D&K Limited
  Partnership)                                                       M-2357
  Plaintiff-Appellant,                                M-2358
  M-2511
  -against-                                                   M-2512
  Index No. 109749/09
  Dalia Genger,
  Defendant-Respondent,

  Sagi Genger, Leah Fang
  D & K GP LLC, and TPR Investment
  Associates, Inc.,
  Defendants.
  ---------------------------------------X

  Appeals having been taken to this Court from two orders of the Supreme Court, New
  York County, entered on or about August 9, 2019 (Case No. 2020-1941) and October 4,
  2019 (Case No. 2020-1940),

  And plaintiff-appellant Deborah J. Piazza, the successor Chapter 7 Trustee of the Estate
  of Orly Genger, having moved, in identical motions, for extensions of time in which to
  perfect the aforementioned appeals, with leave to seek additional extensions if necessary
  (M-2357 and M-2358),

  And defendant-respondent Dalia Genger, having cross-moved, in identical cross motions,
  to dismiss the appeals (M-2511 and M-2512),

  Now, upon reading and filing the papers with respect to the motions and cross motions,
  and due deliberation having been had thereon,

  It is ordered that plaintiff-appellant’s motions (M-2357 and M-2358), are granted to the
  extent of extending the time in which to perfect the appeal taken from the October 4,
  2019 order (Case No. 2020-1940) to the February 2021 Term of this Court, and are
  otherwise denied, and
21-01180-jlg   Doc 12     Filed 09/23/21 Entered 09/23/21 16:26:01          Main Document
                                       Pg 10 of 10



  It is further ordered that defendant-respondent's cross motions (M-2511 and M-2512) are
  granted to the extent of dismissing the appeal taken from the August 9, 2019 order (Case
  No. 2020-1941), and otherwise denied.

  ENTERED: September 10, 2020




  _____________________
  CLERK
